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                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 WESTERN HEALTHCARE, LLC,                        §
                                                 §
                 Plaintiff,                      §
                                                 §
 v.                                              §      Civil Action No. 3:16-CV-565-L
                                                 §
 NATIONAL FIRE AND MARINE                        §
 INSURANCE COMPANY;                              §
 BERKSHIRE HATHAWAY, INC.; THE                   §
 MEDICAL PROTECTIVE COMPANY;                     §
 HEALTHCARE LIABILITY                            §
 SOLUTIONS, INC.; THOMAS                         §
 MEIERANT; and RAJ MEHTA,                        §
                                                 §
                  Defendants.                    §

                                   ORDER OF REFERENCE

        Pursuant to 28 U.S.C. § 636(b), Defendant Healthcare Liability Solutions, Inc.’s Motion

to Dismiss Under FRCP 12(B)(6), filed March 7, 2016; Plaintiff Western Healthcare LLC’s

Motion to Remand, filed March 28, 2016; and Defendant Raj Mehta’s Motion to Dismiss for

Lack of Personal Jurisdiction or, Alternatively, for Failure to State Claim, April 20, 2016, are

hereby referred to United States Magistrate Judge David L. Horan for hearing, if necessary, and

for the United States Magistrate Judge to submit to the court proposed findings and

recommendations for disposition of the motions. This order of reference also prospectively refers

all procedural motions that are related to the referred motion to the United States Magistrate Judge

for resolution. All future filings regarding the referred motion shall be addressed “To the

Honorable United States Magistrate Judge”—not to the district judge or court—and shall be

accompanied by a transmittal letter addressed to the magistrate judge so that filings will reach him

without delay.

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        Local Civil Rules 72.1 and 72.2 provide that, unless otherwise directed by the presiding

district judge, a party who files objections under Federal Rules of Civil Procedure 72(a) and (b)(2)

to magistrate judge orders regarding pretrial nondispositive matters, or findings and

recommendations on dispositive motions, may file a reply brief within 14 days from the date the

response to the objections or response brief is filed. The court does not allow parties to file a reply

brief with respect to magistrate judge orders or findings and recommendations, unless leave is

granted to file the reply brief. The court will strike or disregard any reply brief filed in violation

of this order.

        It is so ordered this 3rd day of May, 2016.




                                                       _________________________________
                                                       Sam A. Lindsay
                                                       United States District Judge




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